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                            United States District Court
                               District of Columbia



United States of America,
             Plaintiff,                      Case No. 1:21-cr-00246-ABJ-1
v.
Daniel Rodriguez,
             Defendant.




           DEFENDANT RODRIGUEZ’S NON-OPPOSITION TO
          UNITED STATES’ MOTION FOR LIMITED UNSEALING


      The defendant, Daniel Rodriguez, by and through his counsel of record, does

not oppose the government’s motion for limited unsealing of the February 14, 2023,

plea hearing transcript. To obtain the complete record for appeal, Mr. Rodriguez

will seek an unsealing order of the partial transcript from this Court and has asked

the government’s position on unsealing. The government’s requested limited

unsealing order will allow the government access to the sealed version of the

transcript in order to respond to Mr. Rodriguez’s request.

 Dated: February 2, 2024.                  Respectfully submitted,

                                           RENE L. VALLADARES
                                           Federal Public Defender
                                      By: /s/Wendi L. Overmyer
                                          WENDI L. OVERMYER
                                          Assistant Federal Public Defender
                                          Appellate Counsel for Daniel Rodriguez
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                        Certificate of Electronic Service

      The undersigned hereby certifies that she is an employee of the Federal

Public Defender for the District of Nevada and is a person of such age and

discretion as to be competent to serve papers. That on February 2, 2024, she served

an electronic copy of the above and foregoing DEFENDANT RODRIGUEZ’S

NON-OPPOSITION TO UNITED STATES’ MOTION FOR LIMITED

UNSEALING by electronic service (ECF) to the person named below:

            MATTHEW M. GRAVES
            United States Attorney
            Anthony W. Mariano
            Assistant United States Attorney
            555 4th Street, NW
            Washington, DC 20530

                                             /s/ Cecilia Valencia
                                             Employee of the Federal Public
                                             Defender




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